Case 2:17-cv-12359-BAF-DRG ECF No. 16 filed 06/27/18   PageID.198   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

WENDELL SHANE MACKEY,

      Plaintiff,                               Case No: 17-12359
                                               Judge Bernard A. Friedman
v.                                             Magistrate David R. Grand

JAMES MICHAEL BERRYMAN,
Mayor of the City of Adrian, Michigan;
MARGARET M.S. NOE,
Judge of the Lenawee County Circuit Court,

      Defendants.

Issa G. Haddad (P71699)                 John J. Gillooly (P41948)
HADDAD LAW FIRM, PLC                    John E. Fitzgerald (P80961)
Counsel for Plaintiff                   GARAN LUCOW MILLER, P.C.
30600 Telegraph Road, Suite 4280        Attorney for James M. Berryman
Bingham Farms, MI 48025                 1155 Brewery Park Blvd., Ste 200
248.633.8500                            Detroit, MI 48207
issa@haddlaw.com                        313.446.5501
                                        jgillooly@garanlucow.com

Christopher J. Johnson (P32937)
JOHNSON, ROSATI, SCHULTZ &
JOPPICH, P.C.
Attorney for Margaret M.S. Noe
27555 Executive Drive, Suite 250
Farmington Hills, MI 48331
248.489.4100
cjohnson@jrsjlaw.com


                   ORDER TO WITHDRAWAL AS COUNSEL
                      FOR DEFENDANT BERRYMAN
Case 2:17-cv-12359-BAF-DRG ECF No. 16 filed 06/27/18                       PageID.199       Page 2 of 2




        Attorney of record for Defendant Berryman, John E. Fitzgerald

(P80961), is leaving the employ of Garan Lucow Miller, P.C. on June 26,

2018, and hereby requests that this Honorable Court grant him a

withdrawal as attorney of record for Defendant Berryman in the instant

matter. Attorney of record, John J. Gillooly and Garan Lucow Miller, P.C.

will remain as counsel for Defendant Berryman in this matter.

        IT IS HEREBY ORDERED that John E. Fitzgerald (P80961) is

granted a withdrawal as attorney of record for Defendant Berryman.

        IT IS SO ORDERED.



Dated: June 27, 2018                             s/Bernard A. Friedman
Detroit, Michigan                                BERNARD A. FRIEDMAN
                                                 SENIOR UNITED STATES DISTRICT JUDGE



                                       CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of record and any
unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
addresses disclosed on the Notice of Electronic Filing on June 27, 2018.

                                                 s/Johnetta M. Curry-Williams
                                                 Case Manager
